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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, et al.,

                                      PLAINTIFFS,

        v.                                           Civil Action No. 3:24-cv-517

 CADE BRUMLEY, et al.,                               Judge: JWD - SDJ

                                    DEFENDANTS.

                           DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants Cade Brumley,

Conrad Appel, Judy Armstrong, Kevin Berken, Preston Castille, Simone Champagne, Sharon Latten-

Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey Melerine, Ronnie Morris, East Baton Rouge

Parish School Board, Livingston Parish School Board, Vernon Parish School Board, and St. Tammany

Parish School Board move for dismissal of Plaintiffs claims (Counts I and II) in Plaintiffs’ Complaint,

ECF No. 1, for the reasons stated in their attached Memorandum of Law.




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Dated: August 5, 2024               Respectfully submitted,

                                      /s/ J. Benjamin Aguiñaga
                                    J. BENJAMIN AGUIÑAGA*
                                      Solicitor General

                                     /s/ Zachary Faircloth
                                    ZACHARY FAIRCLOTH (La #39875)
                                     Principal Deputy Solicitor General
                                    MORGAN BRUNGARD (La #40298)
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                                    Counsel for Defendants Cade Brumley, Conrad Appel,
                                    Judy Armstrong, Kevin Berken, Preston Castille, Simone
                                    Champagne, Sharon Latten-Clark, Lance Harris, Paul
                                    Hollis, Sandy Holloway, Stacey Melerine, Ronnie Morris,
                                    East Baton Rouge Parish School Board, Livingston Parish
                                    School Board, Vernon Parish School Board, and St.
                                    Tammany Parish School Board

                                    *pro hac vice granted




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